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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF                          :   CIVIL ACTION NO. 1:12-CV-1567
PENNSYLVANIA, PENNSYLVANIA               :
GAME COMMISSION,                         :   (Judge Conner)
                                         :
                   Plaintiff             :
                                         :
            v.                           :
                                         :
THOMAS E. PROCTOR HEIRS                  :
TRUST,                                   :
                                         :
                   Defendant             :

                                     ORDER

      AND NOW, this 3rd day of December, 2021, after convening a bench trial in

this matter, and for the reasons set forth in the accompanying memorandum, it is

hereby ORDERED that:

      1.    Judgment is ENTERED in favor of defendant Thomas E. Proctor Heirs
            Trust on the issue of subsurface ownership in the bellwether Josiah
            Haines warrant only.

      2.    The court will schedule, by separate order, a telephone conference
            with counsel to address remaining matters in the above litigation.



                                      /S/ CHRISTOPHER C. CONNER
                                      Christopher C. Conner
                                      United States District Judge
                                      Middle District of Pennsylvania
